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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

FRANCIS SCHAEFFER COX,                  §
                                        §
       Plaintiff,                       §
                                        §
v.                                      §      Civil Action No. 3:18-cv-03367-B
                                        §
BENBELLA BOOKS, INC. AND                §
WILLIAM FULTON,                         §
                                        §
       Defendants.                      §

                    DEFENDANT’S MOTION TO DISMISS PURSUANT TO
                      FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6)
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        COMES NOW, Defendant BenBella Books, Inc. (“BenBella”) and files its Motion to

Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(6), (“the Motion”). In support,

BenBella would respectfully show this Court as follows:

                          I.        SUMMARY OF THE ARGUMENTS

        Plaintiff’s claims for defamation, intentional inflection of emotional distress, and

misappropriation of name, image, and likeness arise from Defendant’s book, The Blood of

Patriots: How I Took Down an Anti-Government Militia with Beer, Bounty Hunting, and

Badassery, 1 which accurately recounts how Plaintiff was arrested, tried, and convicted for

(among other criminal charges) conspiring to murder federal agents, including law enforcement

personnel, and state judges. Plaintiff, a convicted criminal, does not have the right to pursue

civil claims against Defendant for the purpose of undermining the validity of his criminal

conviction.

        Because Plaintiff’s defamation and intentional infliction of emotional distress claims are

founded solely on the allegedly defamatory publication, the one-year statute of limitations for

libel governs all those claims. Plaintiff did not file his lawsuit against Defendant until well after

expiration of the limitations period and, therefore, those claims are time-barred. Even if it had

been timely filed, Plaintiff’s defamation claim is without merit because: (1) he is a public figure,

yet he pleads no facts that BenBella acted with the requisite malice—or even negligence—to

harm him by publishing The Blood of Patriots; and (2) the statements are substantially true.

Moreover, Plaintiff failed to comply with Texas’ Defamation Mitigation Act, which requires a

1
  See Exh. 1, WILLIAM FULTON & JEANNE DEVON, THE BLOOD OF PATRIOTS: HOW I TOOK DOWN AN
ANTI-GOVERNMENT MILITIA WITH BEER, BOUNTY HUNTING, AND BADASSERY (2017) (hereinafter “The
Blood of Patriots”). Defendant requests that the Court take judicial notice of Exh. 1. See Fed. R. Evid.
201(b); In re Katrina Canal Breaches Consol. Lit., 533 F.Supp.2d 615, 631-32 (E.D. La. 2008) (citing 5C
Charles A. Wright & Arthur R. Miller, Federal Practice and Procedure, § 1366) (“items of unquestioned
authenticity that are referred to in the challenged pleading and are ‘central’ or ‘integral’ to the pleader’s
claim for relief” may be considered in a 12(b)(6) motion)).


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defamation plaintiff to request in writing a retraction of the libelous statements prior to asserting

a claim.

          Plaintiff’s intentional infliction of emotional distress claim lacks merit because it is based

entirely on the same facts supporting the alleged defamation. Plaintiff cannot avoid the statute of

limitations by repackaging his meritless defamation claim as another cause of action with a

longer statute of limitations—here, intentional, infliction of emotional distress. In any event,

Plaintiff pleads no facts independent of his defamation claim that would support a separate claim

for intentional infliction of emotional distress.

          Finally, Plaintiff’s misappropriation of name and likeness claim fails because the subject

matter of The Blood of Patriots—Plaintiff’s (partial) life story—cannot, as a matter of law, be

misappropriated, and Defendant has not published or misappropriated his image. Thus, all of

Plaintiff’s claims against BenBella should be dismissed.

                                 II.      BACKGROUND FACTS

          Plaintiff Francis Schaeffer Cox is a self-described “well-known Second Amendment

lobbyist” 2 and “well respected local political voice with popular support.” 3 Prior to his arrest

and criminal convictions that form the basis for the subject matter of The Blood of Patriots,

Plaintiff “won 38% of the vote in a[n] [Alaska] House election.” 4 Plaintiff purports to be the: (1)

“leader of the Alaska Peacemaker Militia;” (2) “Secretary of Defense for the Alaska Assembly

Post,” and (3) “Commander-in-Chief of the several States of the United States of America.” 5


2
    Civil Action Complaint, Doc. 3 ¶ 8.
3
    Complaint ¶ 20.
4
    Complaint ¶ 8.
5
 See Exh. 3, Third Superseding Indictment, Doc. 239, Case No. 3:11-CR-00022-RJD (D. Alaska, Jan. 1,
2010), App. at 292-93. Defendant requests that the Court take judicial notice of Exhibit 3. See Fed. R.
Evid. 201(b); Norris v. Hearst Trust, 500 F.3d 454, 461 n.9 (5th Cir. 2007) (“[I]t is clearly proper in
deciding a 12(b)(6) motion to take judicial notice of matters of public record.”); Cleven v. Mid-Am.


                                                    2
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The Alaska Peacemaker Militia and the Alaska Assembly Post held a collective belief that “at

some undetermined and unknown point in the future they would be compelled to take up arms

against the government, be sufficiently armed and equipped to sustain a take-over of the

‘government’ or become a new government in the event of a ‘government collapse.’ ” 6

          Plaintiff alleges that he was the target of a retaliatory Federal Bureau of Investigation

(“FBI”) investigation in response to his public statements accusing “state and federal authorities”

of “suppl[ying] children for sex to a number of state and federal officials in exchange for those

officials [sic] cooperation in concealing the ongoing illicit drug trafficking activities of the State

Wide Drug Task Force.” 7 The Blood of Patriots author (and BenBella’s co-defendant in this

lawsuit) William Fulton (“Fulton”) worked as an undercover informant in the FBI investigation

of Plaintiff. 8 Plaintiff alleges that Fulton was tasked by the FBI with “convinc[ing] Plaintiff to

commit large-spread violence” against his adversaries in the government, 9 and that Fulton, in

concert with the FBI, acted to “illegally entrap [ ]” 10 Plaintiff using techniques such as threats of

violence against Plaintiff and his children. 11

          The FBI investigation revealed that Plaintiff, as part of his participation in the Alaska

Peacemaker Militia and the Alaska Assembly Post “acquired and sought to acquire illegal

firearms, machine guns, destructive devices and firearms silencers,” and “developed a list of

individuals employed by the state and federal government, including home addresses, so that


Apartment Communities, Inc., No. 1:16-CV-820-RP, 2017 WL 4276534, at *3 (W.D. Tex. Sept. 26,
2017) (taking judicial notice of the City of Austin’s website in analyzing a 12(b)(6) motion).
6
    Exh. 3 at App. 295.
7
    Complaint ¶¶ 8-10.
8
    Complaint ¶¶ 4, 13.
9
    Complaint ¶ 13.
10
     Complaint ¶ 7.
11
     Complaint ¶ ¶ 11-12, 14, 18.


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Plaintiff and others could kill them in the event of a ‘government collapse’ ”or Plaintiff’s

arrest. 12 Plaintiff and the militia members also created a plan to kill two government employees

(specifically, law enforcement, judges, or district attorneys) in the event that one of them was

killed by the government,” 13 which they referred to as the “2-4-1 plan,” 14 and took “overt acts”

in furtherance of the conspiracy. 15 Plaintiff was arrested in March 2011 by the FBI. 16

          After a trial by a jury of his peers, Plaintiff was found guilty and convicted of: (1)

conspiracy to possess unregistered silencers and destructive devices; (2) possession of

unregistered silencers and destructive devices; (3) possession of an unregistered silencer; (3)

possession of an unregistered machine gun; (4) illegal possession of a machine gun; (5) making

of a silencer; (6) carrying firearms during a crime of violence; (7) possession of unregistered

destructive devices; and (8) conspiracy to murder an Officer of the United States; (9) solicitation

to murder an Officer of the United States. 17           After an appeal, the Ninth Circuit affirmed

Plaintiff’s conviction for conspiracy to murder an Officer of the United States and reversed his

conviction for solicitation to murder an Officer of the United States. 18                The remaining




12
     Exh. 3 at App. 295.
13
     Exh. 3 at App. 295, 300.
14
     Exh. 3 at App. 300.
15
     Exh. 3 at App. 308-09.
16
     Complaint ¶ 20-22.
17
  Exh. 4, Verdict Form, Doc. 432, Case No. 3:11-CR-00022-RJD (D. Alaska, Jun. 8, 2012), App. at 316-
319; Exh. 5, Judgment in a Criminal Case, Doc. 561, Case No. 3:11-CR-00022-RJD (D. Alaska, Jan. 8,
2013) (Bryan, J.), App. at 321-22. Defendant requests that the Court take judicial notice of Exhibits 4 and
5. See Fed. R. Evid. 201(b); Norris, 500 F.3d at 461 n.9; Cleven, 2017 WL 4276534, at *3.
18
  United States v. Cox, 705 Fed. Appx. 573, 575 (9th Cir. 2017), cert. denied, 138 S.Ct. 2625 (June 11,
2018) (mem. op.). Defendant requests that the Court take judicial notice of the Ninth Circuit’s holding in
Plaintiff’s criminal appeal. See Fed. R. Evid. 201(b); Norris, 500 F.3d at 461 n.9.


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convictions stand. Plaintiff’s Petition for Certiorari to the Supreme Court of the United States

was denied, 19 and time to appeal his other convictions has passed.

          Plaintiff is currently incarcerated in federal prison in Terre Haute, Indiana. 20 Plaintiff

maintains a website from prison on which he touts his “Political Activism” and describes what

Plaintiff believes to be violations of his due process rights. 21

          Fulton, co-authored the book The Blood of Patriots, 22 which accurately recounts how

Plaintiff was arrested, tried, and convicted for the criminal charges. The Blood of Patriots was

published on September 19, 2017 23 by BenBella, a publishing company headquartered in Dallas,

Texas. 24 Plaintiff filed this lawsuit on December 20, 2018, alleging defamation, defamation by

implication, defamation per se, intentional infliction of emotional distress, and misappropriation

of name or likeness against Defendants Fulton and BenBella. 25




19
   Cox v. United States, 138 S.Ct. 2625 (June 11, 2018) (mem. op.). Defendant requests that the Court
take judicial notice that the Supreme Court of the United States’ denied Plaintiff’s petition for certiorari in
his criminal appeal. See Fed. R. Evid. 201(b); Norris, 500 F.3d at 461 n.9.
20
     Complaint ¶ 3.
21
  See Schaeffer Cox, Free Schaeffer Center, SCHAEFFER COX FOR STATE HOUSE,
http://www.schaefferforstatehouse.com/, (last updated December 13, 2018); Schaeffer Cox, Letters from
Isolation, SCHAEFFER COX, PRISONER FOR LIBERTY, https://freeschaeffer.com/blog/, (last updated
January 28, 2019); Schaeffer Cox, Media, SCHAEFFER COX, PRISONER FOR LIBERTY,
https://freeschaeffer.com/gallery/ (last viewed February 1, 2019) (hereinafter “Plaintiff’s Websites”).
Defendant requests that the Court take judicial notice of Plaintiff’s Websites. See Fed. R. Evid. 201(b);
Town of Davie Police Pension Plan v. Pier 1 Imports, Inc., 325 F. Supp. 3d 728, 746 n. 3 (N.D. Tex.
2018) (Scholer, J.) (taking judicial notice of material on defendants’ website as a source whose accuracy
cannot be reasonably questioned by defendants), appeal docketed, No. 18-10998 (5th Cir. Aug. 1, 2018).
22
  Exh. 2, Copyright Registration for The Blood of Patriots: How I Took Down an Anti-Government
Militia with Beer, Bounty Hunting, and Badassery, UNITED STATES COPYRIGHT OFFICE, at App. 289.
Defendant requests that the Court take judicial notice of Exhibit 2. See Fed. R. Evid. 201(b); Norris, 500
F.3d at 461 n.9; Cleven, 2017 WL 4276534, at *3.
23
     Exh. 2 at App. 289.
24
     Complaint ¶ 4.
25
     See generally Complaint.


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                                     III.        ARGUMENT

A.         Legal Standards

           Although a complaint need not contain “detailed factual allegations,” it must include

facts sufficient to establish the plausibility of the claims asserted, raising the “right to relief

above the speculative level.” 26 A complaint that does no more than provide “labels and

conclusions” or “a formulaic recitation of the elements of a cause of action” should be dismissed

under Rule 12(b)(6). 27

           The Supreme Court has prescribed a “two-pronged approach” to determine whether a

complaint fails to state a claim under Rule 12(b)(6). 28 The court must “begin by identifying the

pleadings that, because they are no more than conclusions, are not entitled to the assumption of

truth.” 29 The court should then assume the veracity of any well-pleaded allegations and

“determine whether they plausibly give rise to an entitlement of relief.” Id. The plausibility

principle does not convert the Rule 8(a)(2) notice pleading standard to a “probability

requirement;” however, “a sheer possibility that a defendant has acted unlawfully” will not

defeat a motion to dismiss. 30

           The plaintiff must “plead [ ] factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” 31 “[W]here the well-pleaded

26
  Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545, 555 (2007); accord Ashcroft v. Iqbal, 556 U.S. 662, 678
(2009) (a complaint must contain “factual content that allows the court to draw the reasonable inference
that the defendant is liable for the misconduct alleged”); Nationwide Bi-Weekly Admin., Inc. v. Belo
Corp., 512 F.3d 137, 140 (5th Cir. 2007) (“Dismissal under Rule 12(b)(6) is appropriate when the
plaintiff has failed to allege ‘enough facts to state a claim to relief that is plausible on its face[.]’”)
(quoting Twombly, 550 U.S. at 547) ).
27
     Twombly, 550 U.S. at 555.
28
     Iqbal, 556 U.S. at 678-79.
29
     Id. at 679.
30
     Id. at 678.
31
     Id.


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facts do not permit the court to infer more than the mere possibility of misconduct, the complaint

has alleged—but it has not ‘show[n]’—‘that the pleader is entitled to relief.’” 32 The court,

drawing on its judicial experience and common sense, must undertake the “context-specific task”

of determining whether the plaintiff’s allegations “nudge” his claims against the defendant

“across the line from conceivable to plausible.” 33

           Although dismissal under Federal Rule of Civil Procedure 12(b)(6) is ordinarily

determined by whether the facts alleged in the complaint, if true, give rise to a cause of action, a

claim may also be dismissed if a successful affirmative defense appears clearly on the face of the

pleadings or in sources for which the court may take judicial notice. 34 The statute of limitations

is an affirmative defense. 35 Thus, statute of limitations may properly be asserted in a Rule

12(b)(6) motion to dismiss. 36

           When evaluating a Rule 12(b)(6) motion, the Court may judicially notice 37 a fact that is

not subject to reasonable dispute because it: (1) is generally known within the trial court’s

territorial jurisdiction; or (2) can be accurately and readily determined from sources whose

accuracy cannot reasonably be questioned. 38 The Fifth Circuit has held that, when deciding



32
     Id. at 679 (alteration in original) (quoting FED. R. CIV. P. 8(a)(2)).
33
     See id. at 679, 683.
34
  Nationwide, 512 F.3d at 141-47 (affirming district court’s dismissal pursuant to Rule 12(b)(6) on the
ground that the applicable state statute of limitations barred plaintiff’s defamation claim); see also Kansa
Reinsurance Co., Ltd. v. Cong. Mortgage Corp. of Tex., 20 F.3d 1362, 1366 (5th Cir. 1994) (dismissal
under Rule 12(b)(6) is proper if an affirmative defense is evident on judicial notice).
35
     FED. R. CIV. P. 8(c)(1).
36
     Nationwide, 512 F.3d at 141-47.
37
  Throughout this Motion, Defendant asks the Court to take judicial notice of information that is public
record. If the Court finds that consideration of any of the documents referenced herein would require the
Court to treat Defendant’s Motion as a Motion for Summary Judgment under Federal Rule of Civil
Procedure 56, Defendant withdraws its request for judicial notice of those documents.
38
     Fed. R. Evid. 201(b).


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motions to dismiss, courts may take judicial notice of matters of public record. 39 “The same is

true for various types of exhibits that are attached to the pleading . . . and items of unquestioned

authenticity that are referred to in the challenged pleading and are “central’ or “integral’ to the

pleader’s claim for relief.” 40

B.        Plaintiff’s Defamation, Defamation Per Se, and Defamation by Implication Claims
          Fail Because They Are Time Barred Under Texas Law

          1.       The Texas Statute of Limitations Applies to Plaintiff’s Claims

          Plaintiff invokes Texas law in support of his defamation and tort claims and cites

multiple Texas and Fifth Circuit opinions throughout his Complaint. 41 Defendant agrees that

Texas law applies to Plaintiff’s claims. 42 In diversity cases “[t]he Fifth Circuit has held that

Texas applies its own statute of limitations, regardless what substantive law applies.” 43 This is

because “[u]nder Texas law, statutes of limitations are considered to be procedural, not

substantive.” 44     “Texas applies the forum’s law for procedural issues . . . and statutes of

limitation are considered procedural.” 45 Thus, Texas’ statute of limitations applies to Plaintiff’s



39
     Funk v. Stryker Corp., 631 F.3d 777, 783 (5th Cir. 2011).
40
     In re Katrina Canal, 533 F.Supp.2d 615 at 631-32.
41
     See Complaint ¶¶ 71, 80, 81, 93.
42
  If the laws of the resident states of Plaintiff and Defendant are substantially identical, the Court can determine the
legal viability of a claim without conducting a choice of law analysis. See Coghlan v. Wellcraft Marine Corp., 240
F.3d 449, 452 (5th Cir.2001) (evaluating motion to dismiss under the laws of both potentially applicable states).
There is no material conflict between the substantive laws of Texas and Alaska as it relates to Plaintiff’s claims.
However, should the Court find that Alaska is the applicable substantive law and dismiss Plaintiff’s claims under
Alaska law, BenBella pleads in the alternative for an award of attorneys’ fees. See Alaska R. Civ. P. 82(a)-(b).
43
  Woolley v. Clifford Chance Rogers & Wells, No. 3:01–CV–2185–D, 2004 WL 57215, at *3–5 (N.D.
Tex. Jan. 5, 2004) (citations omitted).
44
  Cypress/Spanish Ft. I, L.P. v. Prof. Serv. Indus., Inc., 814 F.Supp.2d 698, 708 (N.D. Tex. Aug. 29,
2011) (Boyle, J.) (applying Texas statute of limitations to Plaintiff’s common law tort claims where the
court exercised diversity jurisdiction).
45
  Wooley, 2004 WL 57215 at *3 (citing Baker and Hughes, Inc. v. Keco R & D, Inc. ., 12 S.W.3d 1, 4
(Tex.1999)); Franco v. Allstate Ins. Co., 505 S.W.2d 789, 793 (Tex.1974); California v. Copus, 158 Tex.
196, 309 S.W.2d 227, 230 (1958).


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claims, including its one-year statute of limitations for defamation. Plaintiff asserts no basis for

equitable tolling under Texas law.

          Plaintiff’s defamation claims must be dismissed because the limitations period that

governs them expired months before he filed the Complaint. A one-year statute of limitations

governs libel claims in Texas, running from the date of first publication of the allegedly

defamatory statement. 46 The one-year period commences upon publication of the statement. 47

The discovery rule, which defers the statute of limitations, does not apply where the publication

is made through a public medium. 48

          2.       The Single Publication Rule Applies to The Blood of Patriots

          Texas applies 49 the “single publication rule,” to a libel claim based on mass media

publication as follows:

          No person shall have more than one cause of action for damages for libel . . . or
          any other tort founded upon any single publication or exhibition or utterance, such
          as any one edition or issue of a newspaper or book or magazine or any one
          presentation to an audience or any one broadcast over radio or television or any
          one exhibition of a motion picture. Recovery in any action shall include all
          damages for any such tort suffered by the plaintiff in all jurisdictions.50

When the single publication rule applies, a libel action accrues upon publication. 51 Publication is

complete on “the last day of the mass distribution of copies of the printed matter” because that is




46
     Tex. Civ. Prac. & Rem. Code § 16.002(a); Nationwide, 512 F.3d at 142.
47
     Nationwide, 512 F.3d at 142.
48
     See Kelley v. Rinkle, 532 S.W.2d 947, 949 (Tex. 1976).
49
  The Alaska Supreme Court has discussed the single publication rule and assumed its application to
multiple publications without expressly adopting it. See McCutcheon v. State,746 P.2d 461, 464-65
(Alaska 1987).
50
     Holloway v. Butler, 662 S.W.2d 688, 690 (Tex. App.—Houston [14th Dist.] 1983, writ ref'd n.r.e.).
51
     See id. at 692.


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the day “when the publishers, editors and authors have done all they can to relinquish all right of

control, title and interest in the printed matter.” 52

           3.     The Single Publication Rule Applies to the Internet Publications

           For libel actions based on internet publications, publication is complete upon the posting

of a statement to the Internet. 53 “A statement electronically located on a server which is called

up when a web page is accessed, is no different from a statement on a paper page in a book lying

on a shelf which is accessed by the reader when the book is opened.” 54

           4.     The Statute of Limitations Bars Plaintiff’s Defamation Claims Because The
                  Blood of Patriots was not Altered or Republished

           Plaintiff did not file this action until December 20, 2018. 55 Thus, Plaintiff’s libel claim

survives the statute of limitations only if the allegedly actionable statements were published on

or after December 20, 2017, one year prior to the date Plaintiff filed this lawsuit. 56 Under well-

established Texas law, Plaintiff’s libel claim is barred by limitations because the book was first

published in both print and digital form on September 19, 2017 57—well more than one year

before the filing of this lawsuit on December 20, 2017. Plaintiff’s Complaint does not allege that




52
     See id.
53
   Nationwide, 512 F.3d at 145-46 (applying Texas law and deciding that the single publication rule
applies to internet publication of newspaper article); Mayfield v. Fulhart, 444 S.W.3d 222, 228-29 (Tex.
App.—Houston [14th Dist.] 2014, pet. denied) (agreeing with Nationwide and applying the single
publication rule to a television report posted on the internet); Cruz v. Van Sickle, 452 S.W.3d 503, 518
n.20 (Tex. App.—Dallas 2014, no pet.) (“[W]e also find the Fifth Circuit’s reasoning [in Nationwide]
persuasive.”); Mack v. Nelson, No. A-12-CV-016-LY, 2012 WL 12874200, at *3 (W.D. Tex. July 6,
2012) (agreeing with the Fifth Circuit’s reasoning in Nationwide and applying the single publication rule
to an online publication of a print magazine).
54
     Nationwide, 512 F.3d at 144.
55
     See generally Complaint.
56
     Tex. Civ. Prac. & Rem. Code § 16.002(a).
57
     Exh. 2 at App. 289.


                                                    10
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the book was altered or republished. 58 Accordingly, Plaintiff’s defamation claims should be

dismissed with prejudice. 59

C.        Plaintiff’s Defamation Claims Must Be Dismissed as Matter of Law Because He
          Failed to Comply with Texas’ Defamation Mitigation Act

          Texas’ Defamation Mitigation Act (“DMA”) requires a defamation plaintiff to request in

writing a retraction of the libelous statements prior to asserting a claim. 60 Under the DMA, a

person may maintain an action for defamation only if: (1) the person has made a timely and

sufficient request for a correction, clarification, or retraction from the defendant; or (2) the

defendant has made a correction, clarification, or retraction. 61 Further, such a request is timely

only if it is made during the statute of limitations period for commencing a defamation action. 62

Plaintiff does not allege that he requested a correction, clarification, or retraction within the one

year statute of limitations. 63 Accordingly, his defamation claim must be dismissed as a matter of

law. 64

D.        Plaintiff’s Defamation and Intentional Infliction of Emotional Distress Claims Fail
          Because they Implicate the Validity of His Criminal Conviction

          Even if Plaintiff’s defamation claims were not barred by the statute of limitations, they

(and plaintiff’s IIED claim) fail because they are premised on the facts underlying his criminal

58
     See generally Complaint.
59
   See Tex. Civ. Prac. & Rem. Code §16.002(a); Nationwide, 512 F.3d at 143, 146; Holloway, 662
S.W.2d at 692.
60
     See Tex. Civ. Prac. & Rem. Code § 73.055.
61
     Tex. Civ. Prac. & Rem. Code § 73.055(a).
62
     Tex. Civ. Prac. & Rem. Code § 73.055(b).
63
     See generally Complaint.
64
   See Tubbs v. Nicol, 675 F. App’x 437 (5th Cir. 2017) (per curiam) (upholding district court’s decision
to grant summary judgment on defamation claim, which “fail[ed] as a matter of law” because plaintiff did
not comply with § 73.055(a)); see also Klocke v. Univ. of Texas at Arlington, No. 4:17-CV-285-A, 2017
WL 6767393, at *2 (N.D. Tex. July 25, 2017) (McBryde, J.); but see Inge v. Walker, No. 3:16-CV-0042-
B, 2017 WL 4838981, at *3 (N.D. Tex. Oct. 26, 2017) (Boyle, J.) (failure to follow §73.055(a)(1) does
not require dismissal for failure to state a claim).


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conviction. An inmate plaintiff’s tort claims based on facts that, if true, would undermine the

validity of his criminal conviction are not legally cognizable unless the plaintiff can show that

the conviction was reversed on direct appeal, expunged by executive order, declared invalid by

an authorized state tribunal, or called into question by a federal court's issuance of a writ of

habeas corpus. 65 Heck directs this Court to first “consider whether a judgment in favor of the

plaintiff would necessarily imply the invalidity of his conviction[s] or sentence[s.]” 66

          Pursuant to Heck, a convicted criminal does not have the right to pursue a civil suit for

state law claims of defamation and intentional infliction of emotional distress if those claims

imply the invalidity of his criminal conviction. 67 The allegedly defamatory statements that

Plaintiff seeks to litigate (which also form the basis for Plaintiff’s IIED claim) are related to his

criminal arrest and convictions, including conspiracy to murder federal agents. 68                If these




65
  Heck v. Humphrey, 512 U.S. 477, 486–87 (1994) (analyzing a federal claim under 42 U.S.C. § 1983);
accord Hainze v. Richards, 207 F.3d 795, 799 (5th Cir. 2000) (finding that Heck is applicable to state law
claims).
66
     Heck, 512 U.S. at 487.
67
  See Cooper v. Trent, 551 S.W.3d 325, 334–35 (Tex. App.—Houston [14th Dist.] 2018), review denied
(Jan. 25, 2019) (applying Heck and upholding dismissal of inmate’s IIED claim)); Matthews v. City of
Tyler, Texas, No. 6:15CV954, 2015 WL 10153135, at *1-2 (E.D. Tex. Nov. 20, 2015), report and
recommendation adopted, No. 6:15CV954, 2016 WL 633943 (E.D. Tex. Feb. 17, 2016) (applying Heck
and dismissing IIED claim)); Vafaiyan v. Target, Inc., No. 3-06-CV-1619-K, 2008 WL 3558968, at *4
(N.D. Tex. Aug. 12, 2008) (Kinkeade, J.) (applying Heck and finding that plaintiff was prohibited from
pursuing a state law defamation claim arising from his arrest because he would have “no good reputation
to be damaged” unless his theft conviction was overturned); see also Roberts v. City of Fairbanks, No.
4:17-CV-0034-HRH, 2018 WL 5259453, at *4 (D. Alaska Oct. 22, 2018), appeal docketed, No. 18-35938
(9th Cir. Nov. 1, 2018) (applying Heck and dismissing IIED claim under Alaska law).
68
   Compare Exh. 5 at App. 322 (convicting Plaintiff of conspiracy to commit murder pursuant to 18
U.S.C. §§ 1114, 1117); 18 U.S.C. § 1114 (murder or attempted murder of an officer or employee of the
United States engaged in the performance of official duties); 18 U.S.C. § 1117 (conspiracy to murder);
with Complaint ¶ 36 (“[W]hat we need is not a third political party, it’s a second government. And if we
can’t take down this one outright, then it needs to be replaced one branch at a time, beginning with the
judicial.”); Complaint ¶ 38 (“And then, Vernon brought up Schaeffer Cox’s plan to kill judges. I had
hoped that plan was ancient history, but I was wrong.”); Complaint ¶ 51 (“After the call, the setup was
complete. Specific illegal weapons had been ordered, these idiots knew that what they wanted was illegal
and didn’t give a shit . . . Schaeffer Cox had given his blessing.”); Complaint ¶ 57 (“I believe that it is


                                                    12
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statements are found to be defamatory (i.e., not true or substantially true) in this civil proceeding,

it would, in effect, prove that Plaintiff’s criminal convictions were invalid.

         Plaintiff, who alleges that he was convicted “for simply believing in the original meaning

of the Second Amendment,” and that his conviction “will set a sweeping new precedent allowing

for the wholesale round up of those who have not committed any crimes,” seeks to re-litigate his

criminal trial in a civil forum. 69 Because “the facts [plaintiff] seeks to litigate regarding his . . .

tort claims are facts essential to his conviction . . . and that conviction has not been invalidated,”

Plaintiff’s claims have no basis in law and must be dismissed. 70

         Moreover, Plaintiff has no damages for emotional distress other than those which

“necessarily result[ ] from [his] confinement and criminal conviction.” 71 It was Plaintiff’s illegal

conduct, which resulted in his conviction—rather than BenBella’s publication of an account of

how Plaintiff was investigated, arrested, tried, and convicted for conspiring to murder federal

agents—that was the cause in fact of his “severe emotional distress” and alleged harm to his




absolutely morally allowable if they were to come and arrest one of us, for the three of us to go kick in the
judge’s door and the trooper’s . . . If they kill one of us, we go kill two of them.”).
69
   Compare Gentry v. Houston Police Dep’t, No. 14-08-01094-CV, 2009 WL 10453387, at *2 (Tex. App.—Houston
[14th Dist.] July 16, 2009, no pet.) (“The claims in appellant’s original petition focus on his indictment and
circumstances leading to his final criminal conviction. In essence, appellant is attempting to appeal his criminal
conviction in civil court. Where a conviction has not been overturned, a criminal defendant cannot recover damages
resulting from his conviction.”) with Complaint ¶ 6 (“[Plaintiff’s] injuries are proximately related to the conduct of
Defendants, each and every one of them acting in concert jointly and severally.”); Complaint ¶ 7 (“Plaintiff Cox’s
unjust and illegal conviction remains on appeal . . . ”); Complaint ¶ 7 (“Plaintiff Cox was set up and illegally
entrapped . . . exculpatory Brady material and other material evidence was illegally withheld by federal prosecutors
to wrongfully convict Plaintiff Cox.”); Complaint ¶ 22 (“Plaintiff was arrested and put on trial for ‘conspiracy
against the government.’ . . . The audio recording of Plaintiff repeatedly rejecting violence were hidden from the
jury”); Complaint ¶ 23 (“AUSA Steve Skrocki . . . coached his witnesses to lie, then vouched for those lies in his
closing arguments to the jury.”)
70
  Washington v. City of Arlington Police Department, No. 02-17-00337-CV, 2018 WL 4782160 (Tex.
App—Fort Worth October 4, 2018, no pet. filed) (affirming dismissal of IIED claim) (citing Cooper, 551
S.W.3d at 331–36)).
71
   See Cooper, 551 S.W. at 334–35; Complaint ¶ 7 (“Plaintiff Schaeffer Cox is currently a ‘political
prisoner’ held in an old and antiquated U.S. maximum security prison”).


                                                         13
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“reputation, his business, and person and his calling.” 72         Thus, Plaintiff’s defamation and

intentional infliction of emotional distress claim should be dismissed with prejudice.

E.        Plaintiff’s Complaint Fails to Allege Actionable Defamation, Defamation Per Se,
          and Defamation by Implication Claims

          1.      Defamation Standard

          To maintain a defamation action, Plaintiff must prove that BenBella: (1) published a

statement of fact; (2) that was defamatory concerning the plaintiff; (3) while acting with actual

malice regarding the truth of the statement if the plaintiff was a public official or public figure, or

while acting with negligence regarding the truth of the statement if the plaintiff was a private

individual. 73 Libel is defamation in written or other graphic form. 74 Whether the statement at

issue is capable of defamatory meaning is a question of law for the Court. 75 “The court construes

the statement as a whole in light of the surrounding circumstances based upon how a person of

ordinary intelligence would perceive the entire statement.” 76

          Without regard to whether the plaintiff is a public or private figure, he must show falsity

in order to recover damages from a media defendant. 77 “The court construes the statement as a

whole in light of the surrounding circumstances based upon how a person of ordinary intelligence




72
   Complaint ¶¶ 67, 76, 85; Cooper, 551 S.W.3d at 334–35 (as to IIED claim); see also Vafaiyan, 2008
WL 3558968, at *4 (plaintiff convicted of theft has “no good reputation to be damaged” in matters related
to the theft).
73
  WFAA–TV, Inc. v. McLemore, 978 S.W.2d 568, 571 (Tex.1998); accord Lowell v. Hayes, 117 P.3d 745,
751 (Alaska 2005) (“a public figure can win damages for defamation only where he can prove that the
defendant published the defamatory statement at issue with actual malice.”).
74
     Tex. Civ. Prac. & Rem.Code Ann. § 73.001.
75
  Turner v. KTRK Television, Inc., 38 S.W.3d 103, 114 (Tex. 2000); Musser v. Smith Protective Servs.,
723 S.W.2d 653, 654–55 (Tex.1987).
76
     Musser, 723 S.W.2d at 655.
77
  Rogers v. Dallas Morning News, Inc., 889 S.W.2d 467, 472 n. 7 (Tex. App.—Dallas 1994, writ denied)
(citing McIlvain v. Jacobs, 794 S.W.2d 14, 15 (Tex.1990)).


                                                   14
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would perceive the entire statement.” 78 “[P]ublications alleged to be defamatory must be viewed

as a whole—including accompanying statements, headlines, pictures, and the general tenor and

reputation of the source itself.” 79

            2.     Plaintiff Fails to Plead Actual Malice or Even Negligence

            In the context of defamation claims, there are two types of “public figures.” “All-

 purpose” or “general purpose” public figures are those “who have achieved such pervasive fame

 or notoriety that they become public figures for all purposes and in all contexts.” 80 In contrast, a

 “limited-purpose” public figure is a public figure only “for a limited range of issues surrounding

 a particular public controversy.” 81

            Plaintiff concedes that he is “a well-known Second Amendment lobbyist who had won

 38% of the vote in a [Alaska] House election . . .” and “a well-respected local political voice

 with popular support.” 82 As a candidate who ran for Alaska office, Plaintiff is a public figure

 and, thus matters about his conduct are a public concern. 83

            Alternatively, Plaintiff is a public figure because he “thrust [himself] to the forefront of

 particular public controvers[y] in order to influence the resolution of the issues involved. 84 To

 determine whether a defamation claimant is a limited-purpose public figure, Texas courts apply

 the following three-part test: (1) the controversy at issue must be public both in the sense that

 people are discussing it and people other than the immediate participants in the controversy are


 78
      Musser, 723 S.W.2d at 655; Rogers, 889 S.W.2d at 472 n. 7.
 79
      City of Keller v. Wilson, 168 S.W.3d 802, 811 (Tex. 2005).
 80
      WFAA-TV, 978 S.W.2d at 571 (citing Gertz v. Robert Welch, Inc., 418 U.S. 323, 351 (1974)).
 81
      Id.
 82
      Complaint ¶¶ 8, 20.
 83
   See Tex. Civ. Prac. & Rem. Code § 27.001(7)(D); Channel 4, KGBT v. Briggs, 759 S.W.2d 939 (Tex.
 1988) (treating a candidate for State Representative as a “public figure” for defamation purposes).
 84
      See Neely v. Wilson, 418 S.W.3d 52, 71 (Tex. 2013).


                                                      15
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likely to feel the impact of its resolution; (2) the plaintiff must have more than a trivial or

tangential role in the controversy; and (3) the alleged defamation must be germane to the

plaintiff’s participation in the controversy. 85

          Here, Plaintiff alleges that he became a target of the FBI because he “openly . . .

accus[ed]” state and federal authorities of drug trafficking and child prostitution” in public

statements. 86 Plaintiff claims that these public comments and his attempts to expose corruption

in “The Statewide Drug Taskforce” led to the FBI investigation that resulted in Plaintiff’s arrest

and his subsequent criminal conviction. 87 In other words, Plaintiff had “already thrust [himself]

to the forefront” of a public controversy over alleged corruption by public officials and “invite[d]

attention and comment” on those issues before publication of The Blood of Patriots. 88 The press

coverage of Plaintiff’s trial centers on the public controversy over his allegations of government

corruption that, according to Plaintiff, resulted in his arrest and conviction. 89 Even today,

Plaintiff maintains a website from prison on which he touts his “Political Activism” and

describes what Plaintiff believes to be violations of his due process rights. 90


85
  Id. at 70 (citing WFAA-TV, 978 S.W.2d at 571). Alaska law is materially similar, but does not require
that the alleged defendant need not have a tangential role in the matter of public interest for his speech to
be protected. See Olivit v. City & Borough of Juneau, 171 P.3d 1137, 1147 (Alaska 2007) (“Under the
Alaska Constitution, a defamatory statement may be conditionally privileged if it concerns a matter of
public interest. We have stated that there is a paramount public interest permitting persons to speak or
write freely without being restrained by the possibility of a defamation action. Therefore, speech on
matters of public safety is [conditionally] privileged.”)
86
     Complaint ¶ 8.
87
     Complaint ¶¶ 9-10.
88
     Neely v. Wilson, 418 S.W.3d 52, 70 (Tex. 2013).
89
  See Suzanna Caldwell, Judges hear appeal in Schaeffer Cox court case, ANCHORAGE DAILY NEWS
(August 16, 2007), https://www.adn.com/alaska-news/crime-courts/2017/08/16/judges-hear-appeal-in-
schaeffer-cox-court-case/. Defendant requests that the Court take judicial notice of this news article. See
Fed. R. Evid. 201(b); Flax v. Potts, 725 F. Supp. 322, 327 (N.D. Tex. 1989) (Mahon, J)., aff'd and
remanded, 915 F.2d 155 (5th Cir. 1990) (taking judicial notice of a newspaper article)).
90
    See Free Schaeffer Center, http://www.schaefferforstatehouse.com/; Letters from Isolation,
https://freeschaeffer.com/blog/.


                                                       16
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           To prevail on a cause of action for libel, a plaintiff who is a public figure must prove the

defendant published a defamatory statement in writing or graphic form while acting with actual

malice regarding the truth of the statement. 91 To establish actual malice, a public figure must

show that defendant made the allegedly defamatory statement with “knowledge that it was false

or with reckless disregard of whether it was false or not.” 92 To establish reckless disregard, the

public official or pubic figure must prove that defendant had serious doubts about the statement’s

truth. 93 Here, Plaintiff’s defamation claims are wholly conclusory as to the actual malice element.

He recites no facts to establish that BenBella published any statements with malice or reckless

disregard for the truth. 94 In fact, Plaintiff does not even plead facts to establish that Defendant

acted with negligence when publishing The Blood of Patriots. Instead, he relies entirely on

formulaic allegations that do not satisfy Iqbal/Twombly. 95

           3.     The Alleged Defamatory Statements Are Substantially True

           Substantial truth of its publication is a defense to defamation available to media

defendants. 96 The test used in deciding whether the statement is substantially true involves

consideration of whether the alleged defamatory statement was more damaging to the plaintiff's

reputation, in the mind of the average reader, than a truthful statement would have been. 97 This




91
   See Tex. Civ. Prac. & Rem. Code Ann. § 73.001 (elements of libel); WFAA-TV, 978 S.W.2d at 571
(elements of libel as to public figure plaintiff); accord Lowell, 117 P.3d at 751 (requiring proof of actual
malice in public figure cases).
92
     See Turner 38 S.W.3d at 134 (citing New York Times Co. v. Sullivan, 376 U.S. 254, 279-80 (1964)).
93
     Id. (citing St. Amant v. Thompson, 390 U.S. 727, 731 (1968)).
94
  Plaintiff alleges that Defendant Fulton harbors malice towards him. See Complaint ¶ 26. Plaintiff makes
no allegations with respect to BenBella. See generally Complaint.
95
     See Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555-57).
96
     McIlvain, 794 S.W.2d at 16.
97
     Id.


                                                     17
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evaluation involves looking at the “gist” of the statement. 98 A publication “with specific

statements that err in the details but that correctly convey the gist of a story” is “substantially

true.” 99 If the underlying facts regarding the gist of the defamatory charge are undisputed, then

the Court can disregard any variance with respect to items of secondary importance and

determine substantial truth as a matter of law. 100 In a defamation case arising out of the same

facts as a criminal case, statements that convey the “gist” of the plaintiff’s arrest and conviction

of a crime are substantially true. 101

            In this case, Plaintiff’s claims fail because the crimes of which Plaintiff was convicted

(for which BenBella requests that the Court take judicial notice) establish the truth or substantial

truth of the alleged defamatory statements, as follows:

        •   “And then, Vernon brought up Schaeffer Cox’s plan to kill judges. I had hoped that
            plan was ancient history, but I was wrong.”102

The “gist” of the statement is that Plaintiff had a plan to kill government and law enforcement

personnel, which is true or substantially true 103 because Plaintiff convicted of conspiring to

murder judges and other government officials. 104


98
      D Magazine Partners, L.P. v. Rosenthal, 529 S.W.3d 429, 434 (Tex. 2017).
99
      Id.
100
      Id.
101
   See Adi v. Houston Chronicle Publ’g. Co., No. 14–01–00213–CV, 2003 WL 61121 at *2 (Tex. App.—Houston
[14th Dist.] Jan. 9, 2003, no pet.) (holding, in case arising out of same facts, defamation claim against newspaper for
misstating exact date of arrest and amount of false claims filed was defeated as a matter of law by substantial truth
of arrest and conviction for filing false insurance claims); Pedersen v. Blythe, 292 P.3d 182, 186 (Alaska 2012)
(holding that plaintiff was collaterally estopped from litigating a civil defamation claim against the victims of his
assault and battery because the victims’ statements about plaintiff’s crimes could not be false and defamatory in
light of plaintiff’s conviction).
102
      Complaint ¶ 38 (emphasis added).
103
      See generally McIlvain, 794 S.W.2d at 16; Adi, 2003 WL 61121 at *2
104
   See Exh. 5 at App. 322 (conviction for conspiracy to commit murder of federal officials under 18
U.S.C. §1114); Exh. 3 at App. 300-301 (indictment describing conspiracy as follows: “COX and others
developed a       ‘2-4-1’ plan that if COX or any militia members were killed then COX and the others
would kill two other people (specifically law enforcement, judges, or district attorneys) in return.”).


                                                         18
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       •   “Schaeffer’s looking to buy some pineapple grenades and thought maybe you might be
           able to get your hands on some. They ain’t easy to come by, you know what I
           mean?” 105

Because Plaintiff was convicted of illegal possession of hand grenades, 106 the statement that he

was looking to buy the hand grenades that he was ultimately convicted of possessing is true or

substantially true. 107

       •   “Specific illegal weapons had been ordered, these idiots knew that what they wanted
           was illegal and didn’t give a shit, I [Defendant Fulton] gave them an opportunity to
           back out, which they didn’t take, and Schaeffer Cox had given his blessing.” 108

When viewed in context 109 of pages 196-200 of The Blood of Patriots, the “gist” of this

statement is that Plaintiff had signed off on his associates Vernon and Olson acquiring illegal

weapons. This statement is true or substantially true 110 because Plaintiff was found guilty of

possessing illegal weapons. 111

       •   “But two for one, ‘two-forty-one,’ that’s how we can talk about it on the phone. . . . I
           think it’s absolutely morally allowable that if they arrested Ken or me, to go in and
           arrest two of them. If they kill one of us, we go kill two of them.112
The “gist” of the statements is that Plaintiff had a plan to kill judges, which is true because

Plaintiff was convicted of conspiracy to commit murder, and the Ninth Circuit affirmed the

conviction. 113      The Supreme Court of the United States denied Certiorari and Plaintiff’s

105
      Complaint ¶ 42(emphasis added).
106
   See Exh. 5 at App. 322 (conviction for possession of unregistered destructive devices under 26 U.S.C.
§§ 5861(d) and 5871); Exh. 3 at App. 301-302, 304 (indictment describing Plaintiff’s acquisition and
possession of grenades).
107
      See generally McIlvain, 794 S.W.2d at 16; Adi, 2003 WL 61121 at *2
108
      Complaint ¶ 51(emphasis added).
109
      See City of Keller, 168 S.W.3d at 811 (defamatory statement must be viewed as a whole in context).
110
      See generally McIlvain, 794 S.W.2d at 16; Adi, 2003 WL 61121 at *2.
111
    Exh. 5 at App. 322 (convictions for possession of illegal weapons); Exh. 3 at App. 304-310
(indictment describing Plaintiff’s acquisition and possession of unregistered or illegal weapons).
112
      Complaint ¶ 57.
113
      See Exh. 5 at App. 322; United States v. Cox, 705 Fed. Appx. at 575.


                                                      19
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conviction is final. 114 The Indictment charges that as part of Plaintiff’s conspiracy to murder,

“COX and others developed a “2-4-1” plan that if COX or any militia members were killed then

COX and the others would kill two other people (specifically law enforcement, judges, or district

attorneys) in return.” 115

F.         Plaintiff’s Complaint Fails to Allege an Actionable Claim for Intentional Infliction
           of Emotional Distress

           To state a claim for intentional infliction of emotional distress, Plaintiff must meet the

“exacting requirements” to demonstrate that: (1) BenBella acted intentionally or recklessly; (2)

the conduct was extreme and outrageous; (3) BenBella’s actions caused Plaintiff emotional

distress; and (4) the emotional distress suffered by Plaintiff was severe. 116

           A defendant’s conduct is not extreme and outrageous just because it is tortious or

otherwise wrongful. 117       Liability for outrageous conduct should only be found “where the

conduct has been so outrageous in character, and so extreme in degree, as to go beyond all

possible bounds of decency, and to be regarded as atrocious, and utterly intolerable in a civilize

community.” 118 Here, Plaintiff’s Complaint offers nothing more than “formulaic recitations of

the elements” of intentional infliction of emotional distress, which are insufficient. 119


114
      See id.
115
      See Exh. 3 at App. 300-301.
116
   Twyman v. Twyman, 855 S.W.2d 619, 621 (Tex. 1993); Creditwatch, Inc. v. Jackson, 157 S.W.3d 814,
815 (Tex. 2005) (noting the “exacting requirements” to prove a claim for intentional infliction of
emotional distress. The elements are essentially the same under Alaska law; McGrew v. State, Dep’t of
Health & Soc. Servs., Div. of Family & Youth Servs., 106 P.3d 319, 324 (Alaska 2005) (an action for
IIED lies where:“(1) the conduct is extreme and outrageous, (2) the conduct is intentional or reckless, (3)
the conduct causes emotional distress, and (4) the distress is severe.”).
117
   Bradford v. Vento, 48 S.W.3d 749, 758 (Tex. 2001); State v. Carpenter, 171 P.3d 41, 58 (Alaska 2007)
(even harmful conduct “characterized by ‘malice’ ” is insufficient to make out an IIED claim if the
conduct is not “extreme and outrageous.”).
118
      Twyman, 855 S.W.2d at 621; accord Lybrand v. Trask, 31 P.3d 801, 803 n.4 (Alaska 2001).
119
      See Complaint ¶¶ 86-91; Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555-57).


                                                     20
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          1.      The Complaint Lacks Any Factual Allegations to Independently Support
                  Plaintiff’s Intentional Infliction of Emotional Distress Claim

          The Texas Supreme Court has recognized that the tort of intentional infliction of

emotional distress is a “‘gap-filler’ tort, judicially created for the limited purpose of allowing

recovery in those rare instances in which a defendant intentionally inflicts severe emotional

distress in a manner so unusual that the victim has no other recognized theory of redress.”120

“Thus, if the gravamen of a plaintiff's complaint is another tort, a claim for intentional infliction

of emotional distress claim will not lie regardless of whether the plaintiff succeeds on, or even

makes the alternate claim.” 121 Accordingly, to maintain a claim for intentional infliction of

emotional distress, Plaintiff must allege facts independent of his defamation claims. 122

          Here, Plaintiff merely incorporates the facts supporting his defamation claims and alleges

that he “has suffered severe emotional distress” as result of “Defendants . . . publishing

statements about Plaintiff which they knew or should have known to be false or misleading”123

in support of his intentional infliction of emotional distress claim. This complained-of conduct

sounds in defamation. Because there is a recognized tort action to remedy his alleged injury,




120
   Hoffman-La Roche Inc. v. Zeltwanger, 144 S.W.3d 438, 447 (Tex. 2004); see also Standard Fruit &
Vegetable Co. v. Johnson, 985 S.W.2d 62, 68 (Tex. 1998) (noting that the tort’s “clear purpose” was “to
supplement existing forms of recovery by providing a cause of action for egregious conduct” that might
otherwise go unremedied).
121
      Draker v. Schreiber, 271 S.W.3d 318, 322 (Tex. App.—San Antonio 2008, no pet.).
122
    See id. at 323; Oliphint v. Richards, 167 S.W.3d 513, 517 (Tex. App.—Houston [14th Dist.] 2005, pet. denied)
(“Because [the plaintiff] did not even attempt to base his intentional infliction of emotional distress claim on facts
independent of his defamation claim, we hold that an intentional infliction of emotional distress claim is not
available.”); Byrd v. Vick, 409 S.W.3d 772, 782 (Tex. App.—Fort Worth 2013), overruled on other grounds by
Cartney, Hanger, LLP v. Byrd, 467 S.W.3d 477 (Tex. 2015) (holding IIED claim is unavailable where the complaint
alleges the same underlying conduct supports a claim for defamation); Espinosa v. Aaron’s Rents, Inc., 484 S.W.3d
533, 546 (Tex. App.—Houston [14th Dist.] 2016, no pet.) (upholding summary judgment because plaintiff did not
“base his intentional infliction claim on any act apart from those underlying his [defamation and malicious
prosecution] claims”).
123
      Complaint ¶¶ 86-88.


                                                         21
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Plaintiff may not recover under the separate tort of intentional infliction of emotional distress. 124

The fact that Plaintiff’s defamation claims are time-barred does not alter this result. 125

           2.      Plaintiff’s Intentional Infliction of Emotional Distress Claim Must be
                   Dismissed for the Same Reasons as His Defamation Claim

           It is well-established that claims for intentional infliction of emotional distress should be

dismissed where they are premised on the same facts as other meritless tort claims. 126 Where the

gravamen of a claim is alleged defamation, the one year statute of limitations applicable to

defamation claims also applies to the other causes of action—even if that cause of action would

otherwise be subject to a longer limitations period. 127 Thus, because each of Plaintiff’s

defamation claims against BenBella are time-barred and frivolous, 128 his intentional infliction of

emotional distress claim, which he pleads based on identical facts, must be also dismissed.




124
      See Hoffman-La Roche, 144 S.W.3d at 447; Standard Fruit & Vegetable, 985 S.W.2d at 68.
125
   See Draker, 271 S.W.3d at 322; see also Conley v. Driver, 175 S.W.3d 887 n. 4 (Tex. App.—
Texarkana 2005, pet. denied) (explaining that intentional infliction of emotional distress tort cannot be
used as an alternative to some other, more conventional tort which “fits the facts but might be subject to
some structural impediment,” such as statute of limitations or failure to prove elements of a claim).
126
   See Sparks v. Reneau Publ’g., Inc., 245 F.R.D. 583, 587 (E.D. Tex. 2007) (“claim for tortious interference with
contract relies squarely on determining the falsity of the articles. Accordingly, it must fail for the same reasons as
the underlying libel action.”); KTRK Television, 950 S.W.2d at 108 (holding that intentional infliction of emotional
distress claim grounded entirely on defamation claim was precluded by meritless defamation claim); Mahan v.
Arctic Catering, Inc., 133 P.3d 655, n. 1 (Alaska 2006) (intentional infliction of emotional distress claim was moot
where the claim was premised on a sexual harassment claim which was barred by the statute of limitations).
127
    See Nationwide, 512 F.3d at 146-47 (tortious interference claims based on alleged defamation subject
to one-year limitations period, not two-year period that would otherwise govern claim); Hamad v. Ctr. for
Jewish Cmty. Studies, 265 F. App’x. 414, 417 (5th Cir. 2008) (“[Plaintiff] cannot avoid the one-year
statute of limitations applicable to defamation claims by simply alleging . . . causes of action that are
subject to a two-year statute of limitations.”); Nath v. Tex. Children’s Hosp., 446 S.W.3d 355, 370 (Tex.
2014) (tortious interference claim was subject to the one-year statute of limitations because it was
predicated solely on the allegedly defamatory statement).
128
      See Section B, supra.


                                                         22
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G.          Plaintiff’s Complaint Fails to Allege an Actionable Claim for Misappropriation of
            Name or Likeness

            BenBella is entitled to dismissal because Plaintiff fails to state an actionable claim for

common law misappropriation under Texas law. 129 A misappropriation claim has three elements:

“(i) that the defendant appropriated the plaintiff’s name or likeness for the value associated with

it, and not in an incidental manner or for a newsworthy purpose; (ii) that the plaintiff can be

identified from the publication; and (iii) that there was some advantage or benefit to the

defendant.” 130 A claim for misappropriation fails when the value of one’s likeness is “published

for purposes other than taking advantage of his reputation, prestige, or other value associated

with him, for purposes of publicity.” 131 It is well-established that the “right of publicity does not

preclude others from incorporating a person’s name, features or biography in a literary work . . .

Only the use of an individual’s identity in advertising invades a plaintiff’s privacy.” 132

            In Matthews, the Fifth Circuit Court of Appeals held that the plaintiff could not recover

for a misappropriation claim under Texas law because the subject matter of the book and film at

issue was a matter of public concern and because the protection of “a name or likeness” under

Texas law does not include one’s life story. 133 Plaintiff’s misappropriation of name claim

similarly fails because it is clear from the Complaint that the subject matter of The Blood of

Patriots involves his partial life story and biographical information. 134 Like the book and film at

129
   There is no conflict between Alaska and Texas law because the Alaska Supreme Court has “not yet
recognized the tort of misappropriation” under Alaska law. See Alaskasland.Com, LLC v. Cross, 357 P.3d
805, 810 (Alaska 2015) (declining to express an opinion on the validity of a misappropriation claim under
Alaska law and holding that plaintiff’s misappropriation claim, if any, was barred by the federal
Copyright Act).
130
      Matthews v. Wozencraft, 15 F.3d 432, 437 (5th Cir. 1994) (applying Texas law).
131
      Id.
132
      Id. at 439.
133
      Id. at 437-38 (“the term ‘likeness’ does not include general incidents from a person’s life”).
134
      See generally, Complaint ¶¶ 8-26.


                                                        23
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issue in Matthews, many of the material facts in The Blood of Patriots are a matter of public

record because of Plaintiff’s publicized criminal trial. 135 Furthermore, it is evident from the face

of Plaintiff’s Complaint that the subject matter of The Blood of Patriots— Plaintiff’s arrest and

criminal trial—is a matter of public concern. 136

         Plaintiff’s misappropriation of likeness claim similarly fails as a matter of law because he

does not allege that there are photos of him in The Blood of Patriots. 137 The only depiction of

Plaintiff in The Blood of Patriots is a stick figure illustration by co-author Jeanne Devon of

Plaintiff on the witness stand at his criminal trial. 138 The illustration is not identifiable as

Plaintiff, and Plaintiff does not allege that it is identifiable as him. 139 But even if the illustration

was identifiable as Plaintiff, his claim for misappropriation fails because he willingly put his

image in the public domain as far back as 2009 when he gave a videotaped interview to an

internet political blogger. 140



135
   See n. 90, supra; Matthews, 15 F.3d at 439 (“a name cannot be appropriated by reference to it in
connection with the legitimate mention of public activities.”).
136
    Complaint ¶ 22 (“The audio recording of Plaintiff repeatedly rejecting violence were hidden from the
jury [in Plaintiff’s criminal trial], but are now being made available to the public by Schaefer [sic] Cox
supporters via YouTube and other means.”); Complaint ¶ 24 (“ ‘The importance of this case is significant
to the whole of humanity,’ says Larry Pratt, President of Gun Owners of America. He points out that the
prosecution conceded that Schaeffer Cox had no actual plans for violence, but convicted him anyway
based on Plaintiff’s belief that ‘We the People’ may someday have to stand down an out of control
government”).
137
   See generally Complaint; Busch v. Basic Organics, Inc., No. CIVA 3:06CV2261 L, 2007 WL 603385,
at *7 (N.D. Tex. Feb. 27, 2007) (Lindsay, J.) (granting 12(b)(6) motion to dismiss misappropriation claim
where plaintiff failed to allege that defendant was even in possession of any photographs of plaintiff).
138
   Exh. 1 at App. 255 (“Cameras were not allowed in the federal courthouse [during Plaintiff’s trial], so
here are some early lifelike courtroom sketches by Jeanne Devon.”).
139
   Compare Complaint ¶¶ 92-98 with Matthews, 15 F.3d at 437 (reciting elements of misappropriation
claim).
140
    See Plaintiff’s Websites, n. 21, supra, at https://freeschaeffer.com/gallery/. The Media section of SCHAEFFER
COX, PRISONER FOR LIBERTY contains a November 2009 interview Plaintiff gave to Kurt Feigel when Plaintiff was a
delegate to the Continental Congress. See Matthews, 15 F.3d at 440 (“[l]iability for misappropriation ... will not
arise when the information in question is in the public domain.”); see also Busch v. Viacom Int’l, Inc., 477 F. Supp.
2d 764, 777 (N.D. Tex. 2007) (Lindsay, J.) (citing Matthews and dismissing claim for misappropriation pursuant to


                                                        24
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                                          IV.          PRAYER

        For the reasons discussed above, Defendant BenBella Books respectfully requests that:

        a.        the Court grant this motion and dismiss Plaintiff’s claims against Defendant

                 BenBella Books with prejudice;

        b.       in the event that the Court determines that Alaska law applies, award Defendant

                 BenBella full attorneys’ fees, or in the alternative, a minimum of 20 percent of its

                 attorneys’ fees, pursuant to Alaska R. Civ. P. 82; and

        c.       the Court award and award all such other relief to which it is justly entitled.




Rule 12(b)(6) because Plaintiff’s appearance on a talk show prior to the alleged misappropriation put his image in
the public domain)).




                                                       25
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Dated: February 1, 2019                           Respectfully submitted,


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                                                  ATTORNEYS FOR DEFENDANT
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                              CERTIFICATE OF SERVICE

       I hereby certify on this 1st day of February, 2019, that a true and correct copy of the

foregoing was served on all counsel of record via electronic mail pursuant to Fed. R. Civ. P.

5(b)(2)(e).


                                                  /s/ Michael A. McCabe
                                                  Michael A. McCabe




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